Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 1 of 27 PageID: 8447




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  CREIGHTON TAKATA, Individually :
  and on behalf of all others similarly : Civil Action No.: 18-2293-GC-RLS
  situated,                             :
                                        : CONSOLIDATED ACTION
                 Plaintiff,             :
                                        : MEMORANDUM OF LAW IN
        v.                              : SUPPORT OF MOTION FOR
                                        : LEAVE TO FILE [PROPOSED]
  RIOT BLOCKCHAIN, INC. F/K/A, : CONSOLIDATED THIRD
  BIOPTIX, INC., JOHN O’ROURKE, : AMENDED CLASS ACTION
  JEFFREY G. MCGONEGAL,                 : COMPLAINT FOR VIOLATIONS
  BARRY HONIG, CATHERINE                : OF THE FEDERAL SECURITIES
  DEFRANCESCO, MICHAEL                  : LAWS
  BEEGHLEY, JOHN STETSON,               :
  MARK GROUSSMAN, ANDREW                :
  KAPLAN, MIKE DAI, JASON LES, :
  and ERIC SO,                          :
                                        :
                 Defendants.            :



  LITE DEPALMA GREENBERG &              MOTLEY RICE LLC
  AFANADOR, LLC                         William S. Norton (pro hac vice)
  Joseph J. DePalma                     Joshua C. Littlejohn (pro hac vice)
  Jeremy N. Nash                        Christopher F. Moriarty (pro hac vice)
  570 Broad Street, Suite 1201          28 Bridgeside Blvd.
  Newark, NJ 07102                      Mt. Pleasant, SC 29464
  Telephone: (973) 623-3000             Telephone: (843) 216-9000
  Facsimile: (973) 623-0858             Facsimile: (843) 216-9450
  jdepalma@litedepalma.com              bnorton@motelyrice.com
  jnash@litedepalma.com                 jlittlejohn@motleyrice.com
                                        cmoriarty@motleyrice.com

  Local Counsel for Lead Plaintiff      Counsel for Lead Plaintiff Dr. Stanley
  Dr. Stanley Golovac                   Golovac and Lead Counsel for the Class
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 2 of 27 PageID: 8448




                                         TABLE OF CONTENTS

  I.     INTRODUCTION AND BACKGROUND .................................................... 1
  II.    ARGUMENT ................................................................................................. 10
         A.       Legal Standard ..................................................................................... 10
         B.       The Proposed Third Amended Complaint Is Not Futile ..................... 12
         C.       There Is No Prejudice to the Defendants ............................................ 18
  III.   CONCLUSION.............................................................................................. 20




                                                           ii
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 3 of 27 PageID: 8449




                                      TABLE OF AUTHORITIES
  CASES
  Adams v. Gould Inc.,
    739 F.2d 858 (3d Cir. 1984) .................................................................................11
  Bechtel v. Robinson,
    886 F.2d 644 (3d Cir. 1989) .................................................................................18
  Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) .............................................................................................12
  Block v. First Blood Assocs.,
    988 F.2d 344 (2d Cir. 1993) .................................................................................19
  Camara v. Stevens Transp.,
   No. 14-2042 (KM), 2015 WL 5554754 (D.N.J. Sept. 18, 2015) .........................10
  Dole v. Arco Chem. Co.,
   921 F.2d 484 (3d Cir. 1990) .................................................................................11
  Emergent Capital Inv. Mgmt., LLC v. Stonepath Grp., Inc.,
   343 F.3d 189 (2d Cir. 2003) .................................................................................15
  EP Medsystems, Inc. v. EchoCath, Inc.,
   235 F.3d 865 (3d Cir. 2000) .............................................................................6, 14
  Ferber v. Travelers Corp.,
    No. H-90-842 (AHN), 1992 WL 34683 (D. Conn. Jan. 9, 1992) ........................11
  Foman v. Davis,
    371 U.S. 178 (1962) ................................................................................ 10, 12, 20
  Free Speech Coalition, Inc. v. Att’y Gen. of U.S.,
    677 F.3d 519 (3d. Cir. 2012) ................................................................................10
  Garcia v. Hetong Guo,
   No. CV-15-1862-MWF-MRWX, 2016 WL 102213
    (C.D. Cal. Jan. 7, 2016) .......................................................................................14
  Hall v. Johnson and Johnson,
   Civ. No.: 18-1833 (FLW), 2019 WL 7207491 (D.N.J. Dec. 27, 2019) ...........6, 13
  Harben v. Amer Sports Comp.,
   No. 10-2284, 2010 WL 4978021 (E.D. Pa. Dec. 8, 2010) ...................................19
  Heyl & Peterson Int’l, Inc. v. F.D. Rich Hous., Inc.,
   663 F.2d 419 (3d Cir. 1981) .................................................................................12

                                                           iii
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 4 of 27 PageID: 8450




  In re Apollo Grp., Inc. Sec. Litig.,
    No. 08-16971, 2010 WL 5927988 (9th Cir. June 23, 2010) ................................14
  In re DaimlerChrysler AG Sec. Litig.,
    200 F. Supp. 2d 439 (D. Del. 2002) .....................................................................11
  In re Express Scripts Holding Co. Sec. Litig.,
    16 Civ. 3338 (ER), 2017 WL 3278930 (S.D.N.Y. Aug. 1, 2017) .......................11
  In re Gilead Sciences Sec. Litig.,
    536 F.3d 1049 (9th Cir. 2008) ..............................................................................15
  In re L’Oreal Wrinkle Cream Mktg. Practices Litig.,
    No. 12-3571 (WJM),
     2015 WL 5770202 (D.N.J. Sept. 30, 2015).................................................. 13, 19
  In re Miller Energy Res. Sec. Litig.,
    No. 3:11-CV- 386-TAV-CCS, 2014 WL 415730 (E.D. Tenn. Feb. 4, 2014)......14
  In re Suprema Specialties, Inc. Sec. Litig.,
    438 F.3d 256 (3d Cir. 2006) ...................................................................................8
  In re Synchronoss Techs., Inc. Sec. Litig.,
    No. 17-2978 (FLW) (LHG), 2019 WL 2849933 (D.N.J. July 2, 2019)...............11
  In re Take-Two Interactive Sec. Litig.,
    551 F. Supp. 2d 247 (S.D.N.Y. 2008) ..................................................................11
  Juul Labs, Inc. v. 4Z Pods,
    Case No. 18-15444 (KM) (MAH), 2020 WL2029327
    (D.N.J. Apr. 28, 2020) .........................................................................................18
  Long v. Wilson,
    393 F.3d 390 (3d Cir. 2004) .................................................................................12
  Lorenzo v. SEC,
    139 S.Ct. 1094 (2019) ............................................................................................8
  McCabe v. Ernst & Young, LLP,
   494 F.3d 418 (3d Cir. 2007) .................................................................................14
  Nat’l Recovery Agency, Inc. v. AIG Domestic Claims, Inc.,
   No. 4:05-CV-0033, 2006 WL 12895453 (M.D. Pa. May 9, 2006) ......................19
  Oran v. Stafford,
   226 F.3d 275 (3d Cir. 2000) ...................................................................................9
  Parkell v. Danberg,
    No. 10-412-SLR, 2012 WL 760621 (D. Del. Mar. 6, 2012)................................11

                                                           iv
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 5 of 27 PageID: 8451




  Pub. Pension Fund Grp. v. KV Pharm. Co.,
    679 F.3d 972 (8th Cir. 2012) ................................................................................11
  SEC v. China Northeast Petroleum Holdings, Ltd.,
    27 F. Supp. 3d 379 (S.D.N.Y. 2014) ....................................................................17
  SEC v. Falstaff Brewing Corp.,
    629 F.2d 62 (D.C.Cir.1980)..................................................................................10
  Sec. Police & Fire Prof’ls of Am. Ret. Fund v. Pfizer, Inc.,
    No. 10-3105 (SDW), 2012 WL 6771941 (D.N.J. Dec. 6, 2012) .........................10
  UBI Telecom Inc. v. KDDI Am. Inc.,
   No. 2:13-1643 (KSH)(CLW), 2014 WL 6675968 (D.N.J. Nov. 25, 2014) .........12
  Vanleeuwen v. Keyuan Petrochemicals, Inc.,
    No. 13 Civ. 6057(PAC), 2014 WL 3891351 (S.D.N.Y. Aug. 8, 2014) ...............16
  Wenneker Distilleries v. Olifant USA, Inc.,
   No. 1:11-cv-01010, 2011 WL 5548004
    (M.D.Pa. Nov. 15, 2011) .....................................................................................18
  STATUTES
  15 U.S.C § 78u ...........................................................................................................3
  OTHER AUTHORITIES
  61A Am. Jur. 2d Pleading § 722 (2019)..................................................................18
  RULES
  Fed. R. Civ. P. 15(a)(2) ............................................................................................10
  Fed. R. Civ. P. 8(a)(1) ................................................................................................6




                                                              v
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 6 of 27 PageID: 8452




        Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, Lead

  Plaintiff Dr. Stanley Golovac (“Plaintiff”) respectfully submits this memorandum of

  law in support of his Motion for Leave to File [Proposed] Consolidated Third

  Amended Consolidated Class Action Complaint for Violations of the Federal

  Securities Laws (the “TAC”).1

  I.    INTRODUCTION AND BACKGROUND

        On April 8, 2022, the Court (Quraishi, J.) issued an Opinion (the “4/8/22

  Opinion,” ECF No. 223) and Order (ECF No. 224) granting Defendants’ Motions to

  Dismiss (ECF Nos. 192-97) Plaintiff’s Second Amended Complaint (the “SAC,”

  ECF No. 223) “without prejudice” and ordered that “Plaintiff may file a separate

  motion seeking leave to amend his complaint in a manner consistent with this

  Opinion.” 4/8/22 Opinion at 2, 22.

        On April 18, 2022, Plaintiff and all Defendants jointly submitted a Stipulation

  and [Proposed] Order seeking the Court’s permission that “[t]o the extent that

  Plaintiff chooses to file a motion seeking leave to amend his Complaint pursuant to




  1
    References to “¶ __” are to paragraphs of the proposed TAC. Plaintiff has attached
  as Exhibit A to the accompanying Declaration of Joseph J. DePalma (“DePalma
  Decl.”) a copy of the proposed TAC. Attached as Exhibit B to the DePalma Decl.
  is a redline showing the changes between the Consolidated Second Amended Class
  Action Complaint for Violations of the Federal Securities Law (the “SAC”) (ECF
  No. 188) and the proposed TAC. Unless otherwise noted, all defined terms are the
  same as in the proposed TAC.
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Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 7 of 27 PageID: 8453




  the Court’s Opinion (ECF No. 223) and Order (ECF No. 224), Plaintiff shall file any

  such motion on or before May 9, 2022.” (ECF No. 226 at 3.) The Court granted the

  Stipulation and Order on April 19, 2022. (ECF No. 227.) Accordingly, Plaintiff

  hereby respectfully seeks the Court’s permission to file the [proposed] TAC.

        In response to the 4/8/22 Opinion, Plaintiff has amended his allegations in a

  manner consistent with the 4/8/22 Opinion by, inter alia:

         Streamlining the TAC to now allege claims against only four
          Defendants, see ¶¶ 12-15;

         Alleging new materially false and misleading statements and
          omissions that Defendants O’Rourke and Beeghley (both acting as
          the Company’s CEO and Chairman) caused the Company to publish
          to investors in its SEC filings (on Forms S-3, S-3/A, 8-K, and 10-
          K), see ¶¶ 173-217;

         More precisely alleging the Company’s “affirmative dut[ies] of
          disclosure” under of disclosure Items 403 and 404 of Regulation and
          SEC Instructions for Item 1.01(a) of Form 8-K “that, if violated, . . .
          constitute . . . material omission[s] under Rule 10b-5,” 4/8/22
          Opinion at 21, see also ¶¶ 2-4, 92-93, 97-100, 105, 110-112, 153,
          155, 167, 173-175, and thereby addressing the Court’s concerns that
          Plaintiff’s Section 10(b) claims solely rely on violations of Section
          13(d), 4/8/22 Opinion at 18-20.

         Adding new and more streamlined allegations that bolster the
          inference that Defendant Honig knowingly committed deceptive
          acts as part of a fraudulent scheme to deceive the Company’s public
          shareholders, including by failing to disclose his stock sales to
          Riot’s public investors, acting as part of an undisclosed investor
          group with the other Selling Stockholders, and secretly coordinating
          with Defendants O’Rourke and Beeghley in connection with his
          investment in (and manipulation of) the Company’s stock, see
          ¶¶ 142-152;


                                           2
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 8 of 27 PageID: 8454




         Adequately alleging, as Judge Wolfson previously held, that
          Defendant “Honig committed a ‘deceptive or manipulative act’ and
          that he did so with the requisite ‘scienter,”’ ECF No. 166 at 40 (the
          “4/30/20 Opinion”).

         Adequately alleging loss causation in response to specific concerns
          raised by Judge Wolfson in her 4/30/20 Opinion, id; see also ¶¶ 236-
          249.

        Plaintiff respectfully submits that the new allegations in the TAC, including

  the TAC’s more focused and streamlined approach to alleging Defendants’ fraud on

  Riot’s public investors, stand on their own merits, are responsive to the Court’s very

  specific concerns regarding basing Section 10(b) claims solely on violations of

  Section 13(d) as expressed in the 4/8/22 Opinion, and therefore are deserving of

  leave to replead and the opportunity to be briefed and heard on their merits.

        Apart from the TAC’s new allegations, however, Plaintiff believes that a brief

  review of two prior rulings of the Court in this case (by Judge Wolfson and then-

  Magistrate Judge Quraishi) will assist the Court in considering Plaintiff’s motion.

        First, on April 30, 2020, Judge Wolfson issued her 4/30/20 Opinion ruling on

  the viability of the allegations set forth in Plaintiff’s first attempt at repleading his

  claims,2 which was Plaintiff’s Corrected Consolidated Amended Complaint



  2
   As is typical in federal securities class action brought under the Private Securities
  Litigation Reform Act (“PSLRA”), 15 U.S.C § 78u, et seq., Plaintiff was appointed
  by the Court to serve as Lead Plaintiff after the filing of two earlier complaints by
  other parties. (See ECF Nos. 39 at 3, 14 (consolidating two “Related Actions” and
  appointing Plaintiff as “Lead Plaintiff”). Thus, Plaintiff’s first complaint was not
                                             3
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 9 of 27 PageID: 8455




  (“CCAC”) (ECF No. 73.). In dismissing the CCAC without prejudice and granting

  Plaintiff leave to replead, Judge Wolfson held that the CCAC had adequately

  pleaded that Defendant Honig had engaged in a deceptive or manipulative scheme

  in violation of Section 10(b) of the Securities Exchange Act of 1934 (“Exchange

  Act”) and Rule 10b-5(a) and (c) promulgated thereunder, and that Honig did so with

  a strong inference of scienter.

        Specifically, in the 4/30/20 Opinion, Judge Wolfson reviewed the allegations

  in the CCAC and held that “[t]hese allegations plausibly allege a violation of

  [Honig’s] obligations under the [applicable] regulations. Moreover, in the Court’s

  view, the alleged failure by Honig to ‘promptly’ disclose his material decrease in

  stock holdings, while not necessarily deceptive by itself, was deceptive when viewed

  in the wider context of Plaintiff’s allegations that Honig did so in order to conceal

  his sales from the public as part of a scheme to pump-and-dump Riot’s stock. Thus,

  I find that Plaintiff has adequately alleged a ‘deceptive and manipulative’ act by

  Honig that is actionable under Section 10(b).” 4/30/20 Opinion at 34.




  filed until January 15, 2019 (ECF No. 52), and the CCAC (ECF No. 73) was only
  Plaintiff’s first attempt to replead claims on behalf of himself and the Class of Riot
  investors he seeks to represent through this action.
                                            4
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 10 of 27 PageID: 8456




        Judge Wolfson further found that the CCAC adequately alleged a strong

  inference of Honig’s scienter under the heightened pleading standards of the

  PSLRA:

        [T]he allegations in the Complaint against Honig are sufficient to
        support the requisite strong inference of scienter. . . . [T]wo categories
        of particularized allegations . . . support an inference that Honig acted
        with an intent to deceive. First, the Complaint alleges that Honig and
        other members of the Honig Group have been implicated in multiple
        pump-and-dump schemes at other companies. More specifically,
        Plaintiff alleges that “Honig was the primary strategist” in the other
        schemes, and “call[ed] upon other [d]efendants to, among other things,
        acquire or sell stock, arrange for the issuance of shares, negotiate
        transactions, and/or engage in promotional activity.” These allegations,
        which involve conduct at companies other than Riot, do not
        independently support an inference that Honig acted with scienter when
        committing the conduct at issue in this action. However, they do
        suggest a pattern of fraud that lends considerable support to an
        inference that Honig knew that concealing his stock sales was deceptive
        (or, at the very least, that he was reckless in not knowing). Taking these
        allegations together and with all inferences construed in favor of
        Plaintiff, I find that the Complaint gives rise to a strong inference that
        Honig acted with scienter.”

  Id. (internal citations omitted).

        While finding Honig’s actionable conduct and mental state both adequately

  pled in the CCAC (even under the heightened pleading standards of the PSLRA and

  Rule 9(b), see id. at 12-13), Judge Wolfson held that the SAC had not adequately

  pleaded loss causation with respect to Honig. See id. at 40 (“[W]hile I find that the

  Complaint has adequately alleged that Honig committed a ‘deceptive or

  manipulative act’ and that he did so with the requisite ‘scienter,”’ I conclude that the


                                             5
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 11 of 27 PageID: 8457




  Complaint fails to plead the element of loss causation with respect to Honig.”).

  Accordingly, to plead a claim against Honig, the SAC needed only to adequately

  plead loss causation, which under prevailing law, is assessed under the liberal notice

  pleading standards of Fed. R. Civ. P. 8(a)(1).3

        On June 1, 2020, with the Court’s permission, Plaintiff filed his motion

  seeking leave to file the SAC. (ECF No. 169). The SAC addressed the deficiencies

  identified by the Court, and significantly bolstered his allegations against Honig and

  the other remaining Defendants.4 For example, the SAC adequately pleaded the

  element of loss causation with respect to Honig—the only missing element

  necessary to state a claim against him.5



  3
    In this district, loss causation is typically not resolved on a motion to dismiss. EP
  Medsystems, Inc. v. EchoCath, Inc., 235 F.3d 865, 884 (3d Cir. 2000) (“Whether the
  plaintiff has proven [loss] causation is usually reserved for the trier of fact.”); see
  also, Hall v. Johnson and Johnson, Civ. No.: 18-1833 (FLW), 2019 WL 7207491,
  at *27 (D.N.J. Dec. 27, 2019) (Wolfson, J.) (“In light of the Supreme Court's
  reasoning in Dura, and absent guidance from the Third Circuit, this Court aligns
  itself with the decisions of its sister districts, as well as this Court’s prior decisions
  on this issue, and applies the standard provided by Rule 8(a) to Plaintiff's loss
  causation allegations).
  4
    The proposed TAC now names only names four defendants: the Company,
  O’Rourke, Beeghley, and Honig. The following individuals are no longer named
  defendants: DeFrancesco, Groussman, and Stetson.
  5
    In that regard, the SAC alleged that after Honig, who was an 11.19% shareholder
  of Riot on January 5, 2017 (with disclosure duties under Section 13(d)), engaged in
  eleven months of material insider stock sales without notifying the market by filings
  an amended Schedule 13D/A. The truth of Honig’s insider selling was revealed on
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Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 12 of 27 PageID: 8458




        Second, on December 23, 2020, then-Magistrate Judge Quraishi issued a

  Memorandum Opinion and Order (the “12/23/20 Opinion”) (ECF No. 187) granting

  Plaintiff’s motion to file the SAC. In the 12/23/20 Opinion, Judge Quraishi found

  that the SAC had sufficiently alleged claims against all the defendants named

  therein, including that:

         “Plaintiff has sufficiently pleaded that the Riot Defendants either
          filed a false and misleading statement by a material omission, or
          engaged in a deceptive act, under Rule 10b . . . .” Id. at 11.

         Plaintiff has sufficiently alleged that the Riot Defendants filed a
          false or misleading statement, or deceptive act, by leaving out
          specific details such as the [Honig’s] name and that his investment
          was a related-party transaction in their Item 404 of Regulation S-K
          forms.” Id. at 12.

         “[T]he Riot Defendants knew of the alleged group and purposely
          did not report the group under Item 403 to facilitate the group’s
          alleged fraud to manipulate Riot’s stock price” and therefore,
          “Plaintiff has alleged a strong inference of scienter. Id.

         “As to all four of these Defendants, under the liberal approach
          applied to pleading loss causation, . . . Plaintiff has sufficiently
          alleged their actions individually and collectively contributed to
          change Riot’s stock price.” Id. at 15.

        Yet, in his 4/8/22 Opinion, Judge Quraishi never addressed the issue of loss

  causation nor discussed whether the SAC cured the deficiencies identified by Judge

  Wolfson in her 4/30/20 Opinion. Nor did the 4/8/22 Opinion specifically address



  January 31, 2018 by The Wall Street Journal, causing a decline in the Company’s
  stock price. SAC ¶ 459-61.
                                          7
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 13 of 27 PageID: 8459




  whether Plaintiff had adequately alleged the falsity of the Company’s SEC filings,

  whether Defendants had committed deceptive acts, or Defendants’ scienter. Instead,

  the 4/8/22 Opinion solely addressed the discrete issue of whether a private action

  under Section 10(b) can be predicated on violations of Section 13(d). With this issue

  as the Court’s sole focus, Judge Quraishi found that a “Section 13(d) violation may

  not give rise to a private right of action for damages under Section 10(b).” Id. at 20.6

        Plaintiff respectfully submits that the Section 13(d) not dispositive of this

  case—at least as to Defendants Riot, O’Rourke, Beeghley, and Honig and as now

  alleged in the proposed TAC. Rather, Plaintiff submits that the Section 13(d) issue

  was a “strawman” put forth by Defendants to distract from their underlying

  substantive conduct and liability to Riot’s public shareholders. In any event,

  Plaintiff’s proposed TAC now addresses this singular issue by clarifying the legal



  6
    Plaintiff respectfully disagrees with this finding in the Court’s 4/8/22 Opinion.
  Indeed, as Judge Quraishi acknowledged, “the Third Circuit has indicated that
  plaintiffs may bring an action for a Section 13(d) violation under both Section 10(b)
  and Section 18(a).” 4/8/22 Opinion at 20 (citing In re Suprema Specialties, Inc. Sec.
  Litig., 438 F.3d 256, 277, 227 & 283–84 (3d Cir. 2006)). Therefore, while focusing
  on Item 403 of Regulation S-K, the proposed TAC does not abandon all references
  to Section 13(d) as the basis for an “affirmative duty of disclosure that, if violated,
  would constitute a material omissions under Rule 10b-5.” 4/8/22 Opinion at 21.
  Rather, the TAC alleges that Defendants’ Section 13(d) failures—when taken as a
  whole and considered in the wider context of Plaintiff’s allegations—were deceptive
  acts under the federal securities laws. Lorenzo v. SEC, 139 S.Ct. 1094, 1101 (2019)
  (recognizing that a fraudulent scheme under Section 10(b) and Rule 10b-5 (a) and
  (c) “capture[s] a wide range of conduct”).
                                             8
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 14 of 27 PageID: 8460




  bases for Defendants’ duties, violations, and liability, and does so by following the

  guidance in both Judge Wolfson’s and Judge Quraishi’s opinions.

        In that regard, the 4/8/22 Opinion acknowledged that “[t]he Third Circuit has

  held that, in order to show liability under Section 10(b) for other Regulation S-K

  items, a plaintiff must first establish that the regulation creates an independent

  private right of action or that the regulation imposes an affirmative duty of

  disclosure that, if violated, would constitute a material omission under Rule 10b-

  5.” 4/8/22 Opinion at 21 (citing Oran v. Stafford, 226 F.3d 275, 287 (3d Cir. 2000)).

  As noted above, the proposed TAC addresses this issue by refocusing its allegations

  to show that O’Rourke and Beeghley caused the Company to violate Item 403 of

  Regulation S-K by failing to disclose (as required by Item 403) that Honig and other

  Selling Stockholders were acting as a group (as defined by Section 13(d) and as set

  forth in Item 403).

        The 4/8/22 Opinion also did not address whether the SEC’s Instructions for

  Item 1.01(a) of Form 8-K required O’Rourke and Beeghley to disclose related party

  transactions with Honig (and others) within four business days of the event. As

  newly set forth in the proposed TAC (see ¶¶ 93, 175), the SEC Instructions for Item

  1.01(a) of Form 8-K make clear that the regulation imposes an affirmative duty on

  executives of publicly traded companies to disclose transactions with related parties

  within four business days, including specifically, the “identity of the parties to the


                                            9
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 15 of 27 PageID: 8461




  agreement or amendment and a brief description of any material relationship

  between the registrant or its affiliates and any of the parties.” Id. at 4. (emphasis

  added); see also SEC v. Falstaff Brewing Corp., 629 F.2d 62, 70 n. 11

  (D.C.Cir.1980) (“[SEC] Rule 13a-11 requires a Form 8-K whenever certain events

  listed in the form’s instructions transpire.”).

        Accordingly, because Plaintiff has amended his allegations in a manner

  consistent with Court’s 4/8/22 Opinion, Plaintiff respectfully requests that the Court

  grant his motion to file the proposed TAC.

  II.   ARGUMENT

        A.     Legal Standard

        Under Rule 15(a)(2), “[t]he court shall freely give leave [to amend] when

  justice so requires.” Sec. Police & Fire Prof’ls of Am. Ret. Fund v. Pfizer, Inc., No.

  10-3105 (SDW), 2012 WL 6771941, at *3 (D.N.J. Dec. 6, 2012) (quoting Fed. R.

  Civ. P. 15(a)(2)). This rule reflects the “‘principle that the purpose of pleading is to

  facilitate a proper decision on the merits.’” Camara v. Stevens Transp., No. 14-2042

  (KM), 2015 WL 5554754, at *3 (D.N.J. Sept. 18, 2015) (citing Foman v. Davis, 371

  U.S. 178, 182 (1962)). A party’s “leave to amend should be freely given when

  justice so requires, including for a curative amendment unless such amendment

  would be inequitable or futile.” Free Speech Coalition, Inc. v. Att’y Gen. of U.S.,

  677 F.3d 519, 545 (3d. Cir. 2012).


                                             10
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 16 of 27 PageID: 8462




        The Third Circuit takes a liberal approach to Rule 15(a) motions, thereby

  “limit[ing] the district court’s discretion to deny leave to amend.” Adams v. Gould

  Inc., 739 F.2d 858, 864 (3d Cir. 1984). Indeed, this liberal approach to the

  amendment of pleadings is designed to “ensure[] that a [plaintiff’s] claim[s] will be

  decided on the merits rather than on technicalities.” Dole v. Arco Chem. Co., 921

  F.2d 484, 487 (3d Cir. 1990); see also Parkell v. Danberg, No. 10-412-SLR, 2012

  WL 760621, at *2 (D. Del. Mar. 6, 2012) (same). Courts have liberally granted leave

  to amend in securities fraud cases because of the heightened pleading requirements

  imposed by the PSLRA. See, e.g., In re Take-Two Interactive Sec. Litig., 551 F.

  Supp. 2d 247, 312 (S.D.N.Y. 2008) (noting the “complicated pleading rules of

  PSLRA,” and finding “no reason to deviate from the general policy that leave to

  amend should be granted liberally in cases alleging securities fraud”).7



  7
     Courts within this Circuit and across the country routinely grant post-dismissal
  motions for leave to amend in securities class actions. See, e.g., Pub. Pension Fund
  Grp. v. KV Pharm. Co., 679 F.3d 972, 990 (8th Cir. 2012) (vacating the district
  court’s judgment and ordering the district court to grant plaintiffs leave to amend);
  In re Synchronoss Techs., Inc. Sec. Litig., No. 17-2978 (FLW) (LHG), 2019 WL
  2849933, at *1 (D.N.J. July 2, 2019) (granting leave to amend “consistent with this
  Opinion”); In re Express Scripts Holding Co. Sec. Litig., 16 Civ. 3338 (ER), 2017
  WL 3278930, at *20 (S.D.N.Y. Aug. 1, 2017) (allowing post-dismissal amendment
  “because leave to amend should be freely given ‘when justice so requires’”); In re
  DaimlerChrysler AG Sec. Litig., 200 F. Supp. 2d 439, 444 (D. Del. 2002) (granting
  post-dismissal motion to file proposed amended complaint under Rule 15(a) to cure
  PSLRA pleading deficiencies); Ferber v. Travelers Corp., No. H-90-842 (AHN),
  1992 WL 34683, at *1 (D. Conn. Jan. 9, 1992) (citing “liberal amendment policy”
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Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 17 of 27 PageID: 8463




        The district court may deny leave to amend the pleadings only when there is

  (1) undue delay, (2) bad faith or dilatory motive, (3) undue prejudice, (4) repeated

  failures to cure deficiencies, or (5) futility of amendment. Foman, 371 U.S. at 182;

  Long v. Wilson, 393 F.3d 390, 400 (3d Cir. 2004) (same). The party opposing the

  amendment bears the burden of demonstrating why the amendment should not be

  permitted. Heyl & Peterson Int’l, Inc. v. F.D. Rich Hous., Inc., 663 F.2d 419, 426

  (3d Cir. 1981).

        B.     The Proposed Third Amended Complaint Is Not Futile

        In assessing whether a proposed amendment is futile, a court must “appl[y]

  the same standard of legal sufficiency as applies under Rule 12(b)(6),” under which

  a complaint must set forth “enough facts to state a claim to relief that is plausible on

  its face,” and view the proposed allegations as true in the light most favorable to the

  movant. See UBI Telecom Inc. v. KDDI Am. Inc., No. 2:13-1643 (KSH)(CLW),

  2014 WL 6675968, at *2-3 (D.N.J. Nov. 25, 2014) (citing Bell Atl. Corp. v.

  Twombly, 550 U.S. 544 (2007) and noting that movant’s proposed allegations

  “sufficiently provided a factual basis to raise a reasonable expectation that discovery

  will reveal evidence of the necessary elements for the requested amendments.”).

  Given the liberal standard for amending pleadings, “courts place a heavy burden on



  of Rule 15(a) and Foman in granting securities litigants’ Rule 59(e)/60(b) motion
  seeking relief from dismissal to amend complaint under Rule 15(a)).
                                            12
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 18 of 27 PageID: 8464




  opponents who wish to declare a proposed amendment futile.” In re L’Oreal

  Wrinkle Cream Mktg. Practices Litig., No. 12-3571 (WJM), 2015 WL 5770202, at

  *4 (D.N.J. Sept. 30, 2015).

        Amendment here is not futile, particularly given that Judge Wolfson

  previously held “that the Complaint has adequately alleged that Honig committed a

  ‘deceptive or manipulative act’ and that he did so with the requisite ‘scienter[.]’”

  4/30/20 Opinion at 40. Accordingly, with respect to Honig, the only issue is whether

  the proposed TAC adequately pleads loss causation.8 Significantly, allegations of

  loss causation are only subject to notice pleading standards. See Hall, 2019 WL

  7207491, at *27.

        As described above, in addition to pleading that Honig committed “a

  deceptive or manipulative act” with scienter, the TAC readily addressed the loss

  causation deficiency, tying Defendants’ wrongdoing to precipitous declines in the

  Company’s stock price. Specifically, the TAC makes clear that the fraudulent

  scheme was partially revealed when The Wall Street Journal reported on January

  31, 2018 that months earlier Defendant Honig sold a significant portion of his Riot

  stock. See ¶¶ 125-126, 238-240. On this news, the Company’s stock declined more

  than 5%. Id. Prior to the public release of this article, Riot’s shareholders had no



  8
    As discussed above, Judge Quraishi’s 4/8/22 Opinion did not address loss
  causation.
                                          13
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 19 of 27 PageID: 8465




  way of knowing that throughout 2017, Honig was aggressively selling shares

  because he failed to file reports the SEC requires to disclose those sales to the

  market. See ¶¶ 142-147.

        Additionally, two weeks later on February 16, 2018, CNBC published an

  exposé on Honig, O’Rourke and the Company, disclosing for the first time their

  unusually close relationship (including shared office space) and that “Barry Honig

  may be the man behind the Riot Blockchain curtain,” ¶¶ 128-135, 243-244. The

  CNBC article was also corrective because it contained “additional or more

  authoritative fraud-related information that deflated the stock price.” In re Apollo

  Grp., Inc. Sec. Litig., No. 08-16971, 2010 WL 5927988, at *1 (9th Cir. June 23,

  2010). See also In re Miller Energy Res. Sec. Litig., No. 3:11-CV- 386-TAV-CCS,

  2014 WL 415730, at *22 (E.D. Tenn. Feb. 4, 2014) (upholding loss causation

  allegations and stating that while the “report did include information previously

  disclosed publicly, the report also included some ‘new’ information”); Garcia v.

  Hetong Guo, No. CV-15-1862-MWF-MRWX, 2016 WL 102213, at *9-12 (C.D.

  Cal. Jan. 7, 2016) (denying motion to dismiss on loss causation grounds, holding

  that that no such “categorical bar” exists on disclosures that do not reveal any new

  information to the market).9 Such is the case here, where the disclosure provided


  9
     In any event, the Third Circuit has found that “loss causation becomes most
  critical at the proof stage.” McCabe v. Ernst & Young, LLP, 494 F.3d 418, 427 n.4
  (3d Cir. 2007); see also EP Medsystems, Inc., 235 F.3d at 885 (“The causation issue
                                          14
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 20 of 27 PageID: 8466




  the market with new information regarding Honig’s control over Riot and insider

  stock sales. The same is true for other corrective disclosures in the TAC. See ¶¶ 236-

  249.

         With respect to Defendants O’Rourke and Beeghley, the TAC includes new

  particularized facts that give rise to a strong inference that they acted with the

  requisite scienter by knowingly or recklessly misrepresenting and omitting that

  Honig and other Selling Stockholders were acting as a group under Section 13(d)

  pursuant to which they agreed to acquire, hold, vote, and/or dispose of their shares

  in coordination with each other. ¶¶ 153-165. O’Rourke and Beeghley had an

  affirmative duty to disclose this information under Item 403 of Regulation S-K, but

  failed to do so. Id. Additionally, they caused the Company’s SEC filings to conceal

  that Honig was an investor in two companies where Riot was also an investor,

  namely Coinsquare and Kairos.             ¶¶ 96-108, 200-208.        Significantly, these

  transactions occurred while Honig surreptitiously sold off large portions of his stake

  in the Company. ¶ 147. Thus, as Riot announced these new investments, driving its




  becomes most critical at the proof stage. Whether the plaintiff has proven causation
  is usually reserved for the trier of fact. . . .”). Other circuit courts have similarly held
  that loss causation “is a matter of proof at trial and not to be decided on a Rule
  12(b)(6) motion to dismiss.” In re Gilead Sciences Sec. Litig., 536 F.3d 1049, 1057
  (9th Cir. 2008) (citing Emergent Capital Inv. Mgmt., LLC v. Stonepath Grp., Inc.,
  343 F.3d 189, 197 (2d Cir. 2003)).
                                              15
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 21 of 27 PageID: 8467




  stock price higher as new investors rushed in, Honig was aggressively (and covertly)

  selling. Id.

        As signatories to SEC filings, Defendants O’Rourke and Beeghley had an

  affirmative duty to publicly disclose transactions with related-parties, such as large

  shareholders like Honig. See, e.g., Vanleeuwen v. Keyuan Petrochemicals, Inc., No.

  13 Civ. 6057(PAC), 2014 WL 3891351, at *3 (S.D.N.Y. Aug. 8, 2014) (Defendant

  “signed and certified various registration statements . . . during the Public Class

  period that failed to disclose the [related-party] transactions and therefore constituted

  a ‘maker’ of these statements or omissions.”). Aside from their general duties under

  the federal securities laws not to withhold material information or otherwise mislead

  investors, a public company’s duty to disclose related parties arises from two federal

  regulations, the SEC’s Instructions to Item 1.01(a)(1) of Form 8-K and Item 404 of

  Regulation S-K.

        Item 1.01(1)(a) of Form 8-K requires public companies to disclose to

  investors information about material agreements within four business days10 of the

  event, including the following:

        the identity the of parties to the agreement or amendment and a brief
        description of any material relationship between the registrant or its




  10
   See https://www.sec.gov/files/form8-k.pdf at 2 (“a report is to be filed or furnished
  within four business days after occurrence of the event.”).
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Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 22 of 27 PageID: 8468




           affiliates and any of the parties, other than in respect of the material
           definitive agreement or amendment.11

           Item 404 of Regulation S-K mandates similar disclosure obligations. SEC v.

  China Northeast Petroleum Holdings, Ltd., 27 F. Supp. 3d 379, 393-94 (S.D.N.Y.

  2014) (“Item 404 requires disclosures of related-party transactions ‘when the

  amount exceeds $120,000 and in which any related person had or will have a direct

  or indirect material interest.”) (emphasis added).        Because the TAC plausibly

  alleges that O’Rourke and Beeghley had a clear duty to disclose Honig’s

  participation in these transactions, but failed to do so, when considered in the wider

  context of Plaintiff’s allegations, the TAC has sufficiently alleged deceptive acts

  under the federal securities laws.

           With his amendments, Plaintiff has alleged additional facts that more than

  adequately demonstrate Defendants’ deceptive and manipulative scheme, shown the

  falsity of their Class Period representations, satisfied the PSLRA’s scienter standard,

  met Rule 8(a)’s loss-causation standard, demonstrated that Defendants’ conduct

  artificially inflated Riot’s stock price, and adequately alleged claims against each of

  the four remaining Defendants.




  11
       Id. at 4.
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Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 23 of 27 PageID: 8469




        C.     There Is No Prejudice to the Defendants

        If Plaintiff is granted leave to amend, Defendants will not be prejudiced and

  they are not “unfairly disadvantaged or deprived of the opportunity to present facts

  or evidence.” See Wenneker Distilleries v. Olifant USA, Inc., No. 1:11-cv-01010,

  2011 WL 5548004, at *2 (M.D. Pa. Nov. 15, 2011) (granting leave to amend because

  there was no prejudice to defendant since the action remained at the early stages of

  litigation and discovery had not started). Indeed, as discovery has been stayed under

  the PSLRA, this action is still at the beginning phases.

        Moreover, “[t]he burden is upon the opposing party to assert and demonstrate

  that it will be substantially prejudiced by a proposed amendment. . . . A mere

  statement that it will be prejudiced if the amendment is allowed is not a sufficient

  reason for denying leave to amend.” 61A Am. Jur. 2d Pleading § 722 (2019). The

  Third Circuit has made clear that “the non-moving party must do more than merely

  claim prejudice.” Bechtel v. Robinson, 886 F.2d 644, 652 (3d Cir. 1989). See also

  Juul Labs, Inc. v. 4Z Pods, Case No. 18-15444 (KM) (MAH), 2020 WL2029327, at

  *4 (D.N.J. Apr. 28, 2020) (“[M]ere inconvenience in defending a suit does not

  constitute undue prejudice.”).

        Furthermore, as here, “even when a proposed amended complaint adds

  substantive allegations against a defendant or adds parties related to the defendant,

  where [t]he evidence required to meet these new allegations is substantially similar


                                           18
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 24 of 27 PageID: 8470




  to that which was originally required, prejudice does not exist.” Harben v. Amer

  Sports Comp., No. 10-2284, 2010 WL 4978021, at *4 (E.D. Pa. Dec. 8, 2010)

  (internal citation and quotation omitted) (alteration in original). See also In re

  L'Oréal, 2015 WL 5770202, at *3 (noting that defendants were not prejudiced

  because “[t]he theories in the amended complaint involve the same general

  allegations, even if the allegations are used to support slightly different or more

  developed claims.”).

        Here, Defendants will not suffer undue prejudice if the Court grants leave to

  file the proposed TAC. At best, the only prejudice that Defendants can plausibly

  articulate is that they will have to expend time and resources opposing this motion

  by drafting motion-to-dismiss papers (if the Court deems it necessary). But “the

  time, effort, and money that [the party opposing amendment] expended in litigating

  th[e] case” does not amount to “substantial prejudice[.]” Nat’l Recovery Agency,

  Inc. v. AIG Domestic Claims, Inc., No. 4:05-CV-0033, 2006 WL 1289545, at *3

  (M.D. Pa. May 9, 2006) (citing Block v. First Blood Assocs., 988 F.2d 344, 351 (2d

  Cir. 1993)).

        Finally, in granting Defendants’ motion to dismiss the Complaint, the Court

  held that “[Plaintiff] may file a separate motion for leave to file an amended

  complaint, which proposed complaint shall be part of the motion and consistent with

  the Opinion being filed on this date, within thirty (30) days of the date of this Order.”


                                             19
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 25 of 27 PageID: 8471




  ECF No. 167 at 2. As such, Defendants have been on notice of Plaintiff’s likely

  intention to amend and cannot, therefore, claim they are surprised by such an

  amendment.

         In sum, under the circumstances here, Plaintiff should be granted leave to

  amend, as the “outright refusal to grant . . . leave without any justifying reason

  appearing for the denial is not an exercise of discretion; it is merely an abuse of that

  discretion and inconsistent with the spirit of the federal rules.” Foman, 371 U.S. at

  182.

  III.   CONCLUSION

         For the above reasons, Plaintiff respectfully requests that the Court grant his

  Motion for Leave to File [Proposed] Consolidated Third Amended Class Action

  Complaint for Violations of the Federal Securities Law.

   Dated: May 9, 2022            LITE DEPALMA GREENBERG &
                                 AFANADOR, LLC

                                  /s/ Joseph J. DePalma
                                 Joseph J. DePalma
                                 Jeremy N. Nash
                                 570 Broad Street, Suite 1201
                                 Newark, NJ 07102
                                 Telephone: (973) 623-3000
                                 Facsimile: (973) 623-0858
                                 jdepalma@litedepalma.com
                                 jnash@litedepalma.com

                                 Local Counsel for Lead Plaintiff
                                 Dr. Stanley Golovac


                                            20
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 26 of 27 PageID: 8472




                              MOTLEY RICE LLC
                              William S. Norton (Admitted pro hac vice)
                              Joshua C. Littlejohn (Admitted pro hac vice)
                              Christopher C. Moriarty(Admitted pro hac vice)
                              28 Bridgeside Boulevard
                              Mt. Pleasant, SC 29464
                              Telephone: (843) 216-9000
                              Facsimile: (843) 216-9450
                              bnorton@motleyrice.com
                              jlittlejohn@motleyrice.com
                              cmoriarty@motleyrice.com

                              Counsel for Lead Plaintiff Dr. Stanley Golovac
                              and Lead Counsel for the Class

                              US MARKET ADVISORS LAW GROUP PLLC
                              David P. Abel
                              5335 Wisconsin Ave. NW, Ste. 440
                              Washington, D.C. 20015
                              Telephone: (202) 274-0237
                              Facsimile: (202) 686-2877
                              dabel@usmarketlaw.com

                              Counsel for Lead Plaintiff Dr. Stanley Golovac




                                        21
Case 3:18-cv-02293-GC-RLS Document 228-1 Filed 05/09/22 Page 27 of 27 PageID: 8473




                            CERTIFICATE OF SERVICE

        I hereby certify that on May 9, 2022, I authorized the electronic filing of the

  foregoing with the Clerk of the Court using the CM/ECF system which will send a

  Notice of Electronic Filing to all counsel of record.

        I certify under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct. Executed on May 9, 2022.

                                     /s/ Joseph J. DePalma
                                    Joseph J. DePalma
                                    LITE DEPALMA GREENBERG
                                    & AFANADOR, LLC
                                    570 Broad Street, Suite 1201
                                    Newark, NJ 07102
                                    Telephone: (973) 623-3000
                                    Facsimile: (973) 623-0858
                                    jdepalma@litedepalma.com

                                    Local Counsel for Lead Plaintiff
                                    Dr. Stanley Golovac




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